UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                        x
                                                        :
MEI KUM CHU, SAU KING CHUNG, and QUN XIANG
                                                        :
LING, individually and on behalf of all others similarly
                                                        :
situated,
                                                        :
                                                        :
                           Plaintiffs,                         Civil Action No.: 1:21-cv-02115-
                                                        :
                                                               AT
                                                        :
- against -
                                                        :
                                                        :
CHINESE-AMERICAN PLANNING COUNCIL HOME
                                                        :
ATTENDANT PROGRAM, INC.,
                                                        :
                                                        :
                           Defendant.
                                                        x


   DECLARATION OF KENNETH KIRSCHNER IN SUPPORT OF DEFENDANT’S
           MOTION TO DISMISS AND/OR STAY THE MATTER

       KENNETH KIRSCHNER, under penalties of perjury, hereby affirms:

       1.      I am a partner with the firm of Hogan Lovells US LLP, counsel for Defendant

Chinese-American Planning Council Home Attendant Program, Inc. (“CPC”). I am an attorney

duly admitted to practice in this Court. I submit this declaration in support of Defendant’s

Memorandum of Law in Support of Its Motion to Dismiss and/or Stay the Matter (“Motion”),

and to place before this Court true and correct copies of certain documents in support of the

Motion. I am fully familiar with the facts and documents set forth herein.

       2.      Attached hereto as Exhibit A is a true and correct copy of Plaintiffs’ 2016

Summons and Complaint, dated April 11, 2016.

       3.      Attached hereto as Exhibit B is a true and correct copy of the collective

bargaining agreement (the “CBA”) by and between CPC and 1199SEIU United Healthcare

Workers East (the “Union”), as amended by memoranda of agreement.
       4.         Attached hereto as Exhibit C is a true and correct copy of a memorandum of

agreement (the “2015 MOA”), executed on December 7, 2015, by and between CPC and the

Union, which supplements the CBA’s existing alternative dispute resolution provision.

       5.         Attached hereto as Exhibit D is a true and correct copy of the arbitral award

issued by Arbitrator Martin F. Scheinman on April 17, 2020 (the “Award”), in the industry-wide

grievance-arbitration commenced by the Union on behalf of its home care industry members,

concerning alleged wage and hour violations by CPC and other home care agencies (the

“Arbitration”).

       6.         Attached hereto as Exhibit E is a true and correct copy of the amended complaint

filed on November 9, 2015 in Chan, et al. v. Chinese-American Planning Council Home

Attendant Program, Inc., Index No. 650737/2015.

       7.         Attached hereto as Exhibit F is a true and correct copy of the grievance filed by

the Union on January 2, 2019, commencing the Arbitration.

       8.         Attached hereto as Exhibit G is a true and correct copy of Judge Koeltl’s

February 18, 2021 order (the “Confirmation Order), affirming the Arbitrator’s jurisdiction over

the wage and hour claims in the Arbitration.

       9.         Attached hereto as Exhibit H is a true and correct copy of Plaintiffs’ Amended

Complaint, dated February 24, 2021.

       10.        As of March 18, 2021, the Union Arbitration is in active discovery before

Arbitrator Martin F. Scheinman, Esq.
Dated: New York, New York
       March 18, 2021

                            /s/ Kenneth Kirschner
                            Kenneth Kirschner
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                            Planning Council Home Attendant Program,
                            Inc.
